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 VOLUME IV Exhibit 1 – Index of Exhibits Listed in SEC’s Trial Brief, Omnibus
Motion in Limine, Daubert as to Ronald Quintero, and Direct Testimony Declarations

 ECF Ex. No.          PX No.                        Description
 to Doc. 105
      2.              PX 162      Transcript of Dep. Mohammed Ali Rashid -
                                  Volume I

       3.             PX 164      Transcript of Dep. Daniel L. Zelenko

       4.             PX 165      Transcript of Dep. Glen G. McGorty
                                  (March 11, 2019)

       5.             PX 168      Transcript Of Dep. Glen G. McGorty
                                  (October 30, 2018)

       6.             PX 170      Transcript Of Dep. Mohammed Ali Rashid -
                                  Volume II

       7.             PX 172      Letter From Crowell & Moring To SEC

       8.             PX 174      Letter From Paul Weiss To SEC

       9.             PX 175      Apollo’s April 2009 Code of Ethics

       10.            PX 176      Apollo’s February 2010 Code of Ethics

       11.            PX 177      Apollo’s List Of Allocation Codes

       12.            PX 178      Rashid’s “Wallet” At Apollo 000041243-44

       13.            PX 180      Michel's 4/18/13 Email To Rashid And
                                  Attachments

       14.            PX 181      Transcript Of Dep. Mohammed Ali Rashid -
                                  Volume III

       15.            PX 183      Email Thread From Andrew Ehrlich To Donna
                                  Norman And Others Re Request To Speak To
                                  Mr. Crossen And For Documents

       16.            PX 184      Email Thread From Daniel Zelenko To Sipoura
                                  Barzideh And Others Re Pending T&Es




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ECF Ex. No.      PX No.                      Description
to Doc. 105
     17.         PX 185     Apollo Investment Fund V, L.P. (A Delaware
                            Limited Partnership) Fifth And Restated
                            Agreement Of Limited Partnership
     18.         PX 186     Mini-Transcript of Dep. Denis O’Connor




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